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                   UNITED STATES DISTRICT COURT
            FOR THE SOUTHERN DISTRICT OF MISSISSIPPI,
                         WESTERN DIVISION

UNITED STATES OF AMERICA


VERSUS                     CRIMINAL ACTION NO. 5:07cr17-DCB-JCS-009


CHRISTOPHER SHAUN WALKER                                         DEFENDANT

                                 ORDER

     This cause is before the Court on the defendant’s pro se

Motion for Resentencing Pursuant to 18 U.S.C. § 3582(c)(2) [docket

entry no. 193], wherein the defendant requests a reduction of his

sentence pursuant to the recent amendments to the sentencing

guidelines applicable to offenses involving cocaine base and the

subsequent decision by the United States Sentencing Commission to

make this amendment retroactive.     Having carefully considered the

motion, the government’s response thereto, information provided by

the United States Probation Office, applicable statutory and case

law, and being otherwise fully advised in the premises, the Court

finds and orders as follows:

     On October 1, 2007, the defendant entered a plea of guilty to

one count of possessing with the intent to distribute cocaine base,

i.e., crack cocaine.    The original sentence imposed was 60 months

imprisonment, 48 months supervised release, a $1,500.00 fine and a

$100.00 special assessment. The defendant had a base offense level

of 24.   A three-level reduction was granted for acceptance of

responsibility, resulting in a total offense level of 21.            He was
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in a criminal history category of II.              The applicable guideline

range for a total offense level of 21 and a criminal history

category of II was 41 to 51 months.          However, Walker was convicted

of possession with intent to distribute a controlled substance

under 21 U.S.C. § 841(a)(1), which carries a statutory minimum term

of 60 months imprisonment.         Therefore, Walker was sentenced to 60

months imprisonment.

     Walker now moves for a reduction of his sentence pursuant to

Amendment 706 to the Sentencing Guidelines, which lowers the base

offense levels applicable to crack cocaine offenses. Amendment 706

went into effect on November 1, 2007. The United States Sentencing

Commission determined that Amendment 706 would apply retroactively

through   United    States      Sentencing   Guidelines     Manual       §   1B1.10,

effective on March 3, 2008.            The result of the amendment and its

retroactivity      is    that   this    Court,   pursuant   to      18   U.S.C.    §

3582(c)(2), has the discretion to reduce the terms of a defendant’s

imprisonment when certain criteria are met.

     The Court’s authority under 18 U.S.C. § 3582(c)(2) extends to

situations where the sentencing range on which the defendant’s

sentence was based has subsequently been reduced by an amendment to

the guidelines.         United States v. Reynolds, 2008 WL 2415048 (S.D.

Miss. 2008) (citing United States v. Boe, 117 F.3d 830, 831 (5th

Cir. 1997)).    A reduction is appropriate, however, only where the

reduction is consistent with the policy statements issued by the


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United States Sentencing Commission (“Sentencing Commission”). Id.

 The Sentencing Commission mandated in a recent policy statement:

     A reduction in the defendant’s term of imprisonment is
     not consistent with this policy statement and therefore
     is not authorized under 18 U.S.C. § 3582(c)(2) if ...
     [the crack cocaine sentence reduction amendment] does not
     have the effect of lowering the defendant’s applicable
     guideline range.

U.S. SENTENCING GUIDELINES MANUAL § 1B1.10.    Stated differently, if the

crack sentence reduction amendment has no effect on the original

guideline range, the Court is without authority to reduce the

defendant’s sentence.

     As noted earlier, the offense for which Walker was convicted

carried   a   statutorily-mandated       minimum    sentence        of     60   months

imprisonment.     “Where a statutorily required minimum sentence is

greater than the maximum of the applicable guideline range, the

statutorily    required   minimum   sentence       shall   be   the        guideline

sentence.”     U.S. SENTENCING GUIDELINES MANUAL § 5G1.1.            Accordingly,

Walker’s guideline sentence has at all times been 60 months

imprisonment.      The crack sentence reduction amendment has no

bearing on the fact that there is a statutory minimum of 60 months

imprisonment.

     Furthermore, since Amendment 706 went into effect on November

1, 2007, and the defendant was not sentenced until January 8, 2008,

the new guidelines–-to whatever extent applicable to his case–-have

already been taken into consideration.               Thus, the defendant’s

request for a sentence reduction is without merit.

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                     III. CONCLUSION AND ORDER

     Based upon the foregoing analysis and authorities,

     IT IS HEREBY ORDERED that the defendant’s Motion for Reduction

of Sentence [docket entry no. 193] is DENIED.

     IT IS FURTHER ORDERED that the defendant Christopher S.

Walker’s sentence remain at a term of 60 months.

     IT IS FURTHER ORDERED that all other terms and provisions of

the original judgment remain unchanged and in full force and

effect.

     SO ORDERED, this the 30th day of March 2009.

                                       s/ David Bramlette

                                 UNITED STATES DISTRICT JUDGE




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